Case 19-13014-amc       Doc 39     Filed 05/14/20 Entered 05/14/20 13:17:22              Desc Main
                                   Document Page 1 of 3



                                  UNITED STATES BANKRUPTCY COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA (Philadelphia)
      ____________________________________
      In Re:                                                :
                                                            : Chapter 13
      Traci Michelle Green                                  : Case No. 19-13014-JKF
                                 Debtor,                    :
      ------------------------------------------------------:
      Gateway Mortgage Group, a division                    :
      of Gateway First Bank                                 :
                                                            :
                        Movant,                             :
      v.                                                    : Hearing: May 12, 2020 at 9:30 a.m.
                                                            : Courtroom # 3
      Traci Michelle Green                                  :
                                 Debtor,                    :
               and                                          :
                                                            :
      Scott F. Waterman, Esquire                            : 11 U.S.C. §362(d) and §1301
                                 Trustee,                   :
                                                            :
                                 Respondents.               :
      ------------------------------------------------------:
  _______________________________________________________________________
                STIPULATION RESOLVING MOTION FOR RELIEF
              FROM THE AUTOMATIC STAY AND CO-DEBTOR STAY
      THIS matter being opened to the Court by Brian E. Caine, Esquire, of the law office of
  Parker McCay P.A., attorney for the secured creditor, Gateway Mortgage Group, a division of
  Gateway First Bank, (hereinafter “Movant”), upon a Motion for Relief from the Automatic Stay
  and Co-Debtor Stay as to Real Property, more commonly known as 7973 Temple Road,
  Philadelphia, PA 19150; and Michael D. Sayles, Esquire appearing on behalf of Debtor, Traci
  Michelle Green, and it appearing that the parties have amicably resolved their differences and
  for good cause shown;
         1.    As of May 4, 2020, the post-petition arrears are $6,371.20 – which
               represents payments of $1,300.10 each, due January 1, 2020 through
               May 1, 2020 with a suspense balance of $129.30.
         2.    The Debtor agrees to reimburse the Movant for its attorney fees ($850.00) and costs
               ($181.00) for prosecution of the within Motion.
Case 19-13014-amc      Doc 39    Filed 05/14/20 Entered 05/14/20 13:17:22          Desc Main
                                 Document Page 2 of 3




        3.   The Debtor shall cure the post-petition arrears (6,371.20), plus the motion fees and
             costs ($850.00 plus $181.00) by filing an amended chapter 13 plan which provides
             for a cure of said funds to Movant in the amount of $7,402.20 through the plan.
        4.   The Debtor shall file said amended plan as per paragraph 3 above by May 18, 2020,
             and if the Debtor fails to timely file said amended plan or confirmation of said
             amended plan is denied, Movant may file a Certification of Default with the Court
             and the Court shall enter an Order granting Movant relief from the automatic stay as
             to the mortgaged property herein.
        5.   The Debtors will resume regular monthly payments to Movant starting with the June
             1, 2020 payment, and continuing each month thereafter for the duration of this
             Chapter 13 proceeding, Debtor shall remit payments directly to Movant as same
             come due.
        6.   The Debtor will stay current with plan payments to the Trustee.
        7.   If the Debtor fails to stay current with direct mortgage payments to the Movant (as
             they become due), or fail to stay current with plan payments (30 day default on plan
             payments), then counsel for the Movant may send Debtors and Debtors’ attorney a
             notice of default, and the Debtors shall have 14 days to cure said default. If the
             default is not cured timely cured, Movant may file a Certification of Default with
             the Court and the Court shall enter an Order granting Movant relief from the
             automatic stay as to the mortgaged property herein.
        8.   Movant shall amend the claim by May 18, 2020 to incorporate the post-petition
             arrears of $6,371.20, plus the motion fees and costs ($850.00 plus $181.00), which
             are going to be provided for in the plan.
         (remainder of page intentionally left blank)
Case 19-13014-amc       Doc 39    Filed 05/14/20 Entered 05/14/20 13:17:22               Desc Main
                                  Document Page 3 of 3




  The undersigned hereby consent to the form and entry of the within Stipulation.


   /s/Brian E. Caine                         _____________________
  Brian E. Caine, Esquire                    Michael D. Sayles, Esquire
  Parker McCay P.A.                          Sayles and Associates
  9000 Midlantic Drive, Suite 300            427 West Cheltenham Avenue, Suite #2
  Mount Laurel, NJ 08054                     Elkins Park, PA 19027-3201
  (856) 985-4059                             (215) 635-2270
  bcaine@parkermccay.com                     midusa1@comcast.net



  ____________________________
   /s/Polly A. Langdon
  Concurrence by the Chapter 13 Trustee


         It is hereby ORDERED, that the foregoing Stipulation is approved, shall be, and is made and
         Order of this Court.



      Date: May
            __________
                14, 2020                     ______________________________
                                             JEAN K. FITZSIMON
                                             U.S. BANKRUPTCY JUDGE
